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                                                                            FILED
                         UNITED STATES DISTRICT COURT                     June 22, 2023
                                                                     CLERK, U.S. DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS               WESTERN DISTRICT OF TEXAS

                                      WACO DIVISION                         Jennifer Clark
                                                                  BY: ________________________________
                                                                                          DEPUTY
     ECOFACTOR, INC.,

                 Plaintiff,                  Case No. 6:20-cv-00078-ADA

           v.                                JURY TRIAL DEMANDED

ECOBEE, INC.,

                         Defendant.


     ECOFACTOR, INC.,
                                             Case No. 6:2 l-cv-00428-ADA
                Plaintiff,
                                             JURY TRIAL DEMANDED
           v.
                                                   LEAD CASE
ECOBEE, INC.,

                         Defendant.



                         FINAL JURY INSTRUCTIONS
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